






NO. 07-05-0110-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



APRIL 14, 2005



______________________________




$1,364.00, ONE 1997 FORD THUNDERBIRD, ONE PHILLIPS VCR TELEVISION,


ONE REMINGTON MONITOR AND CAMERAS, ONE SENTINEL INTERCOM,


AND ONE SET OF TANITA SCALES, APPELLANTS



V.



THE STATE OF TEXAS, APPELLEE


												


_________________________________



FROM THE 72ND DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2004-525,492; HONORABLE BLAIR CHERRY, JUDGE



_______________________________



Before QUINN and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION


	Alvin L. Gaither, an inmate proceeding pro se, filed a notice of appeal challenging
the trial court's forfeiture order of $1,364, one 1997 Ford Thunderbird, one Phillips VCR
television, one Remington monitor and cameras, one Sentinel intercom and one set of
Tanita scales.  By letter dated March 25, 2005, this Court directed Gaither to pay the
required filing fee of $125 within ten days noting that failure to do so might result in
dismissal of the appeal.  Unless a party is excused from paying, the Clerk of this Court is
required to collect filing fees set by statute or the Supreme Court when an item is presented
for filing.  See Tex. R. App. P. 5 and 12.1(b).  Although the filing of a notice of appeal
invokes this Court's jurisdiction, if a party fails to follow the prescribed rules of appellate
procedure, the appeal may be dismissed.  Tex. R. App. P. 25.1(b).  Thus, because the filing
fee of $125 remains unpaid, we must dismiss the appeal.

	Accordingly, the appeal is dismissed for failure to comply with the Texas Rules of
Appellate Procedure and with a notice from the Clerk requiring payment of the filing fee. 
Tex. R. App. P. 42.3(c).


							Don H. Reavis

						    	   Justice




	



ervenor failed to preserve its
administrative remedies by failing to pursue Medical Dispute Resolution with the Texas
Workers Compensation Commission (TWCC) and by failing to appeal the Contested Case
Hearing Officer’s Decision against it to the TWCC Appeals Panel before pursuing judicial
review.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The clerk’s original record, consisting of three volumes, was filed on November 20,
2009, and a supplemental record was filed on December 3, 2009.  Pending before this
Court is Appellant’s Objection to Clerk’s Record and Motion to Strike or Correct Record. 
According to Appellant, two documents requested by Appellant to be included in the clerk’s
record were omitted, while thirty-nine documents that were not requested were included. 
Appellant prays that this Court strike the existing clerk’s record and order the Lubbock
County District Clerk to prepare a new clerk’s record “consistent with that requested by the
parties to this appeal.”  Alternatively, Appellant requests that this Court order the clerk’s
record be amended and corrected.  Appellant further requests that this Court order the
District Clerk to issue a refund for any overcharge in preparation of the existing clerk’s
record.  For the reasons set forth herein, Appellant’s motion is denied.
Requested But Excluded Documents
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant contends that (1) Plaintiff’s Original Petition and Jury Demand and (2)
Defendant’s Response to Intervenor’s Objections to Reply in Support of Plea to the
Jurisdiction, which were designated by Appellant to be included in the clerk’s record, were
not included.  A review of the record filed does establish that, for whatever reason, those
requested documents were omitted from the clerk’s record.  Rule 34.5(c)(1) provides that
if a relevant item has been omitted from the clerk’s record, the trial court, appellate court,
or any party may by letter direct the trial court clerk to prepare, certify, and file the omitted
document in a supplemental clerk’s record.  This Court directs that Appellant request the
Lubbock County District Clerk to supplement the clerk’s record with the two missing
documents.  Should the district clerk not comply with Appellant’s request, relief may be
sought in this Court pursuant to Rule 35.3(c) which ensures the timely filing of the appellate
record.
  Unnecessary and Unrequested Documents
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant also contends that thirty-nine documents that were never requested by
either party should have been excluded from the clerk’s record.   Appellant’s Request for
Preparation of Clerk’s Record does request that the clerk’s record be prepared “in
accordance with Rule 34.5, including but not limited to the following (emphasis added)”
listed documents.  Appellant contends that these unrequested documents are irrelevant
and unnecessary to the resolution of this appeal. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The inclusion of a document in the clerk’s record does not necessarily mean it is
relevant to the merits of the appeal, and an appellate court is free to disregard any
irrelevant portions of the clerk’s record.  Roventini v. Ocular Sciences, Inc., 111 S.W.3d
719, 726 (Tex.App.–Houston [1st Dist.] 2003, no pet.) (finding that appellate courts are “ill
equipped” to make relevancy determinations concerning the clerk’s record at the record-filing stage of an appeal); See also In re C.A.K., 155 S.W.3d 554 (Tex.App.–San Antonio
2004, pet. denied) (motion to strike irrelevant and unnecessary documents from clerk’s
record denied).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because this Court is not expressly granting any relief requested, Covenant Health
Systems d/b/a Covenant Medical Center’s Objection to Clerk’s Record and Motion to Strike
or Correct Record is denied.&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per Curiam


